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Attorney for
TIFFANY L. CARROLL
ACTING UNITED STATES TRUSTEE

UNITED STATES BANKRUPTCY COURT

 

In re:

SGUTHERN DISTRICT OF CALIFORNIA

Case No.: 13-06250-LT11

LUKE AND LENA ZOUVAS, ACTING UNITED STATES

TRUSTEE’S MOTION TO CONVERT

Debtors. CASE TO CHAPTER 7

PRoCEEDING oR To DISMISS
CASE PURSUANT To 11 U.s.C. §
1112(1>)

Date: 913/1 5
Tlme 10:00 AM

Dept.: Three (3)
Judge: Hon. Laura S. Taylor

 

 

follows:

The Acting United States Trustee (“United States Trustee”), through
counsel, respectfully moves this court for an Order pursuant to 11 U.S.C. §1112(b),
converting the above-captioned case to a Chapter 7 proceeding or, alternatively,

dismissing the case. In support thereof, the United States Trustee provides as

 

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INTRODUCTION

Pursuant to 11 U.S.C. §1112(b), “cause” exists to convert the instant case to
one under Chapter 7. The Debtor is delinquent in the filing of post-confirmation
quarterly operating reports for the quarters ending March 31, 2015 and June 30,
2015. The Debtors have also failed to pay estimated (as operating reports Were not
filed) United States Trustee quarterly fees for the first and second quarters of 2015,
and are now accruing fees for the third quarter of 2015. The failure by the Debtors
to timely file quarterly operating reports and pay United States Trustee fees
provides “cause” to convert this case to a Chapter 7 proceeding or to dismiss this
case.l

FACTUAL BACKGROUND

The Debtors filed a voluntary Chapter ll bankruptcy petition on June 16,
2013. On February 13, 2014, the Court entered an Order confirming the Debtors’
Amended Plan of Reorganization dated 11/22/13. The case docket currently
reflects that the Debtors have not filed post-confirmation quarterly operating
reports for the quarters ending March 31, 2015 and June 30, 2015. Further, the

Debtors have not paid United States Trustee quarterly fees for the first and second

 

l The United States Trustee requests that the court take judicial notice of the bankruptcy court’s
records in this case pursuant to Federal Rule of Evidence §201.

 

 

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quarters of 201 5 and are now accruing fees for the third quarter of 201 5 and owe,
at a minimum, estimated fees of $975.00.2
LEGAL AUTHORITY

Pursuant to 11 U.S.C. §1112(b)(1), after notice and a hearing, the court shall
convert a case under Chapter 11 to a case under Chapter 7 or dismiss a case under
this chapter, whichever is in the best interests of the creditors and the estate, for
“cause.” Pursuant to 11 U.S.C. §1112(b)(4), “cause” exists to dismiss or convert
this case to a Chapter 7 proceeding The Debtors have not timely satisfied any
filing or reporting requirement by filing quarterly operation reports pursuant to 11
U.S.C. §1112(b)(4)(F), nor have they paid fees and charges required under Chapter
123 of Title 28, pursuant to 11 U.S.C. §1112(b)(4)(K). Therefore, “cause” exists
to convert this case to a Chapter 7 proceeding or to dismiss this case, whichever
the Court finds to be in the best interests of the creditors and the estate.

Respectfully submitted,

TIFFANY L. CARROLL
ACTING UNITED STATES TRUSTEE

Dated: A%M¢ ;/Z , 2015 By: /s/ Mary Testerman DuVoisin
Mary Testerman DuVoisin
Trial Attorney for the

Acting United States Trustee

 

 

2 See Declaration of Kenneth 1\/1. Dennis in Support of United States Trustee’s Motion to Convert
Case to Chapter 7 (“Dennis Declaration”) filed simultaneously herewith and incorporated herein
by reference

 

 

